


  PER CURIAM.
 

  Petitioner seeks a writ of habeas corpus challenging his judgment and sentence in Duval County Circuit Court case number 96-5127-CF. The petition is dismissed.
   
   *737
   

   See Baker v. State,
  
  878 So.2d 1236 (Fla.2004) (reiterating that habeas corpus cannot be used to litigate issues that could have been or were raised on direct appeal or in postconviction motions).
 

  Due to petitioner’s apparent abuse of the legal process by his repeated pro se filings attacking his conviction and sentence, this court issued an order directing petitioner to show cause why he should not be prohibited from future pro se filings.
  
   State v. Spencer,
  
  751 So.2d 47, 48 (Fla. 1999) (requiring that courts “first provide notice and an opportunity to respond before preventing [a] litigant from bringing further attacks on his or her conviction and sentence.”). Petitioner’s response to the show cause order does not provide a legal basis to prohibit the imposition of sanctions.
 

  As such, because petitioner’s continued and repeated attacks on his conviction and sentence have become an abuse of the legal process, we hold that he is barred from future pro se filings in this court concerning Duval County Circuit Court case number 96-5127-CF. The Clerk of the Court is directed not to accept any future filings concerning this case unless they are filed by a member in good standing of The Florida Bar. Petitioner is warned that any filings which violate the terms of this opinion may result in a referral to the appropriate institution for disciplinary procedures as provided in section 944.279, Florida Statutes.
  
   See
  
  Fla. R.App. P. 9.410.
 

  WOLF, DAVIS, and MARSTILLER, JJ., concur.
 
